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                      Exhibit
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                               UNITED STATES DEPARTMENT OF EDUCATION

                                                 OFFICE OF THE GENERAL COUNSEL




                                                                   September 10, 2018


Dennis M. Cariello, Esquire
Hogan Marren Babbo & Rose, Ltd.
40 Broad Street
    th
7        Floor
New York, NY 10004


Jonathon C. Glass, Esquire
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
Washington, DC 20004-2400

Re:         Post-closing Review of a Change in Ownership – Grand Canyon University

Dear Dennis and Jonathon:

            As you know, the Department was in the process of its preacquisition review of the
proposed change of ownership and conversion to nonprofit status of Grand Canyon University
(“GCU”) when the transaction closed on July 1, 2018, so no preacquisition response letter was
issued. The Department will issue a decision letter on the change in ownership and conversion
to nonprofit status once it has an opportunity to complete its review and analysis of all of
documents and information, including the documents provided in response to the Department’s
May 17, 2018 and July 2, 2018 requests. We may be requesting additional documents and
information as we conduct our review.

            In that regard, please provide the Department with a narrative explaining how this new
structure and servicing arrangement warrants recognizing the institution’s conversion to
nonprofit status for purposes of the Title IV programs, with the identification of supporting
documentation. If the documents have already been submitted they do not need to be submitted
again, but please clearly identify the documents upon which your clients rely. In particular,
please address the impact of the Master Services Agreement (and any ancillary agreements) on
GCU’s requested nonprofit status. To the extent that GCU relies on the service provider survey
chart Dennis sent to me on May 18, 2018, and to the extent the information is available to you or
your clients, please identify any service providers (other than in regard to the Kaplan) that are
affiliates, owners, or former owners of the institution (including related persons and entities), and


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                                                                  AR-J-0156
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Dennis M. Cariello, Esquire
Jonathon C. Glass, Esquire
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indicate whether any of the servicing agreements were entered into in conjunction with a change
in ownership transaction. Please also address the multiple positions to be held by Mr. Mueller
and/or other executive-level employees of the buyer, the seller, or the institution.

       Please provide this narrative to us no later than October 1, 2018.




                                              Sincerely,




                                              Donna S. Mangold




                                                   2                                      51548.1
                                              AR-J-0157
